
Appeal by defendant from an order denying its motion for an order directing that a commission issue *882to take the testimony, upon written interrogatories, under oath, of a member or other representative of the firm of Sotheby &amp; Company, and a member or other representative of the firm of Coomber &amp; Dickin, as witnesses on behalf of the defendant, and for a stay of the trial of this action pending the return of the depositions duly executed. Order reversed on the law, with ten dollars costs and disbursements, and motion granted, with ten dollars costs. In our opinion the discretion vested in the learned Special Term was not exercised properly, for the record discloses a proper case for the issuance of the commission sought and for a stay of the trial pending such return. Lazansky, P. J., Hagarty, Adel and Taylor, JJ., concur; Carswell, J., not voting.
